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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                 v.                          :
                                             :       Case No: 21-CR-087(1) (TJK)
                                             :
MICHAEL SPARKS,                              :
                                             :
                 Defendant.                  :


              JOINT MOTION TO CONTINUE SENTENCING HEARING

       The United States of America and the defendant Michael Sparks, by and through

undersigned counsel, respectfully moves this Court to continue the sentencing hearing currently

scheduled for July 9, 2024, to August 27, 2024, at 10:00 am, to allow the parties to consider the

effect of an anticipated decision by the U.S. Supreme Court that may bear on the issues to be

resolved at sentencing in this case. See Fischer v. United States, 144 S. Ct. 537, 217 L. Ed. 2d

285 (2023) (granting certiorari to determine the construction of 18 U.S.C. § 1512(c)). The

parties have conferred with court staff and believe that the requested date is available upon the

Court’s order.

       Respectfully submitted,

For the defendant:                                   For the United States:

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

/s/ Scott Wendelsdorf                                /s/ Emily W. Allen
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